                    Case 4:12-cv-01811 Document 145-4 Filed on 09/07/18 in TXSD Page 1 of 14




                                                    PARTNER, ATLANTA

                                                Phone: 404.881.4540
                                            Email: shane.nichols@alston.com


For more than 20 years, Shane has solved his clients' patent infringement disputes with efficient litigation strategies
developed with an unwavering focus on each client's business objectives.




EXPERIENCE


 • Beverage Dispensing Solutions, LLC v. The Coca-Cola Company, Civil Action No. 14-cv-00220, U.S. District Court for
   the Northern District of Georgia; lead counsel defending The Coca-Cola Company against allegations of
   infringement of seven U.S. patents directed to refrigerated beverage dispensers.

 • ATOM Instrument Corporation, et al. v. Petroleum Analyzer Company, LP, U.S. District Court for the Southern District
   of Texas; lead counsel defending P.A.C. and Roper Technologies, Inc. against pending claims of trade secret
   misappropriation and patent infringement.

 • Petroleum Analyzer Company, L.P. v. Franek Olstowski and Atom Instrument Corporation, Civil Action No.
   2006-53995, 269th District Court, Harris County, Texas; lead counsel for P.A.C.; successfully defeated $14.5 million
   trade secrets claim alleging that PAC was violating a state court order enjoining its use of certain excimer
   technologies to detect and measure trace amounts of sulfur in petroleum products.

 • Automated Tracking Solutions, LLC v. ValidFill, LLC et al., U.S. District Court for the Eastern District of Virginia; lead
   counsel defending The Coca-Cola Company against allegations of infringement of four U.S. patents directed to
   tracking technologies.

 • Rothschild Connected Devices Innovations, LLC v. The Coca-Cola Company, U.S. District Court for the Southern




                                                                                                                                Exhibit A-3
                     Case 4:12-cv-01811 Document 145-4 Filed on 09/07/18 in TXSD Page 2 of 14
    District of Florida; lead counsel defending The Coca-Cola Company against allegations of infringement of two U.S.
    patents directed to personalized consumer products.

  • ACS State Healthcare LLC v. Wipro Inc. et al., Delaware Court of Chancery; lead intellectual property counsel for
    plaintiff, ACS; reached favorable settlement within 11 months of filing by establishing evidence of misappropriation of
    ACS’s trade secrets.

  • Covidien (Tyco Healthcare) v. Dornier MedTech America, Inc., et al., U.S. District Court for the Northern District of
    California; lead counsel for Dornier MedTech; litigated medical device patent infringement dispute through end of
    discovery; negotiated and secured favorable settlement six months before remaining defendants were hit with $46
    million jury verdict.

  • Diomed, Inc. v. Dornier MedTech America, Inc., U.S. District Court for the District of Massachusetts; lead counsel for
    Dornier MedTech; negotiated favorable settlement of medical device patent infringement after 20 months of litigation;
    client’s competitor settled its co-pending case involving the same infringement allegations for over $11 million.

  • 3M, et al. v. Avery Dennison Corp., U.S. District Court for the District of Minnesota, represented 3M in patent
    infringement litigation asserting thirteen of 3M’s patents against its competitor, Avery Dennison; dispute involved
    retroreflective optics technologies used in traffic safety.

  • Amstech Inc. v. Osprey International, Inc. et al., U.S. District Court for the Northern District of Georgia; lead counsel for
    plaintiff, Amstech; won preliminary and permanent injunctions against competitor’s sale of products infringing
    Amstech’s trademark and trade dress rights.

  • Conor Medsystems, Inc. – lead worldwide counsel for Conor Medsystems in multiple litigations around the world
    defending its CoStar-brand paclitaxel drug-coated coronary stent against claims of infringement by Boston Scientific
    Corp. and Angiotech Pharmaceuticals Inc.; litigation strategies enabled client’s $1.4 billion acquisition by Johnson &
    Johnson to proceed despite pending litigation. International litigation included:
      • Conor Medsystems, Inc. v. Angiotech Pharmaceuticals Inc., et al., United Kingdom Court of Appeal

      • Conor Medsystems, Inc. v. University of British Columbia, Federal Court of Australia

      • Schneider (Europe) GmbH v. Conor Medsystems Ireland Ltd., The High Court of Ireland

      • Conor Medsystems, Inc. v. Angiotech Pharmaceuticals Inc., et al., The District Court of the Hague

  • TradeCard v. S1 Corporation, Bank of America Corp., et al., U.S. District Court for the Northern District of Georgia;
    won total defense jury verdict in favor of client, S1 Corporation; demonstrated invalidity of asserted patent on the
    basis of a public use of similar technologies several years before. TradeCard v. S1 Corporation, et al., 509 F.Supp.2d
    304 (2007).

  • IMX, Inc. v. LendingTree, Inc., et al., U.S. District Court for the District of Delaware; second chair at jury trial defending
    LendingTree through jury verdict; successfully litigated patent marking issue to diminish plaintiff’s jury verdict by over
    70%; resulted in the first district court holding (Judge S. Robinson) that compliance with the constructive notice
    provision of 35 U.S.C. § 287(a) requires a patentee to mark an Internet website that enables the download of
    patented software. IMX, Inc. v. LendingTree, LLC, 2005 U.S. Dist. LEXIS 33179 (D. Del. Dec. 14, 2005); motion for
    reconsideration denied, 2006 U.S. Dist. LEXIS 551 (D. Del. Jan. 10, 2006).


BIOGRAPHY


Shane Nichols is a partner in Alston & Bird’s Intellectual Property Litigation Group and primarily represents his clients in
high-risk patent infringement and trade secret litigation.

Licensed to practice in both Texas and Georgia, Mr. Nichols has represented clients in federal and state courts in the
U.S., the U.S. International Trade Commission, as well as several international courts around the world. Mr. Nichols is
registered to practice as a patent attorney before the U.S. Patent and Trademark Office.
                     Case 4:12-cv-01811 Document 145-4 Filed on 09/07/18 in TXSD Page 3 of 14
Mr. Nichols is consistently recognized by third-party rating services for his skill in the area of intellectual property litigation.
These include Chambers USA: America’s Leading Lawyers for Business, The Best Lawyers in America ©, Georgia Trend’s
“Legal Elite,” and Georgia Super Lawyers.

Mr. Nichols earned his undergraduate degree in electrical engineering and mathematics from Vanderbilt University and
his law degree from Emory University. He teaches an annual Trial Techniques course to law students at Emory University.
He is a past chairman of the State Bar of Georgia’s Intellectual Property Section.

NEWS & INSIGHTS


PRESS RELEASE       AUGUST 16, 2018



Alston & Bird Widely Recognized in 2019 Best Lawyers


PRESS RELEASE       MAY 7, 2018



Alston & Bird Widely Recognized in Chambers USA 2018


IN THE NEWS      FEBRUARY 23, 2018



Law360 | Legal Lions & Lambs


IN THE NEWS      FEBRUARY 16, 2018



Law360 | Fed. Circ. Backs Coke’s Quick Alice Win on Inventory Patent


PRESS RELEASE       AUGUST 15, 2017



Best Lawyers Recognizes 177 Alston & Bird Attorneys


PRESS RELEASE       MAY 31, 2017



Alston & Bird Widely Ranked in Chambers USA 2017


PRESS RELEASE       AUGUST 16, 2016



Alston & Bird Attorneys Named to “Best Lawyers in America”


PRESS RELEASE       MAY 27, 2016
                  Case 4:12-cv-01811 Document 145-4 Filed on 09/07/18 in TXSD Page 4 of 14
Alston & Bird Earns Wide Recognition in Chambers USA 2016

CREDENTIALS


Bar Admissions
 • Georgia

 • U.S. Patent and Trademark Office


Education
 • Emory University

 • Vanderbilt University


Memberships
 • The United States Supreme Court

 • The United States Court of Appeals for the Federal Circuit

 • The United States Court of Appeals for the Eleventh Circuit

 • Northern and Middle Districts of Georgia

 • Eastern and Southern Districts of Texas

 • U.S. Patent and Trademark Office

 • State Bar of Georgia

 • State Bar of Texas


Professional Affiliations
 • Intellectual Property Law Section of the State Bar of Georgia (Executive Committee, Past Chair)

 • American Intellectual Property Law Association

 • Atlanta Bar Association

 • Houston Intellectual Property Law Association

 • Emory Law School Intellectual Property Advisory Board

 • Executive Board - North American Intellectual Property Law and Entertainment Law Conference


Community Service
 • Board of Directors of Public Broadcasting Atlanta, the parent of Atlanta’s public broadcasting stations 90.1
   FM (WABE radio) and PBA 30 (television)

 • Devote a significant part of practice to pro bono matters including arguing a death penalty appeal before the
   Eleventh Circuit Court of Appeals, defending numerous indigent tenants against wrongful eviction, and
   assisting state courts in rural counties by representing indigent defendants in preliminary hearings
                    Case 4:12-cv-01811 Document 145-4 Filed on 09/07/18 in TXSD Page 5 of 14
  • Represented Habitat for Humanity in connection with several real estate disputes

  • Frequent Habitat for Humanity home-building volunteer




RELATED SERVICES & INDUSTRIES


Patent Litigation

Trade Secrets

Litigation

Intellectual Property Litigation

Trademark, Copyright & False Advertising Litigation

Intellectual Property
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                                                    PARTNER, ATLANTA

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                                               Email: jim.grant@alston.com


A Fellow of the American College of Trial Lawyers, Jim has tried to verdict cases on behalf of clients from different
industries in some of the most hostile jurisdictions in the country. While creative business solutions are almost always
preferred, Jim is prepared to zealously protect his clients' interests at trial in the event a reasonable solution cannot be
reached.




EXPERIENCE


 • Represents Microsoft Mobile Oy in a Section 1 Sherman Act case in Oakland, CA.

 • Represented pollution control manufacturer Norit Americas in a five-week theft of trade secrets arbitration that
   resulted in an award of $37.9 million, in addition to a continuing royalty stream.

 • Represented the world’s third-largest chemical company in matters across the U.S., ranging from alleged theft of
   trade secrets to breach of supply contracts.

 • Represented as trial counsel a multinational generic pharmaceutical manufacturer in Hatch–Waxman litigation and
   other commercial disputes.

 • Protected a key Daubert ruling, resulting in the preservation of summary judgment, as successor appellate counsel
   for Union Carbide Corporation.

 • Represented The Coca-Cola Company defending patent infringement claims brought against its Freestyle® soft
   drink dispenser.

 • Represented Toyota Motor Sales in economic loss cases arising from alleged sudden unintended acceleration
  incidents.      Case 4:12-cv-01811 Document 145-4 Filed on 09/07/18 in TXSD Page 7 of 14
• Represents Porsche Cars North America Inc. and Porsche AG in multidistrict class action litigation in San Francisco
  in the Volkswagen “Clean Diesel” MDL.

• Achieved a settlement for a multinational flooring company in a Section 1 Sherman Act case alleging price fixing in
  the polyurethane foam industry.

• Represented a client in the infant products industry as successor trial counsel in a design patent, Lanham Act, and
  contract action arising out of allegations of product copying. The case settled after verdict while on appeal.

• Represented a client in the oriented strand board industry as successor trial counsel in a price-fixing action. The
  case settled on the eve of trial.

• Represented Rite Aid Inc. as lead trial counsel in a putative class action seeking damages for alleged improper
  reproduction and transfer of pharmacy records. The matter settled on terms favorable to the client.

• Won reversal of a class certification order as successor appellate counsel for Rite Aid Inc.

• Represented as lead trial counsel the world’s largest soft drink bottler in two lawsuits in disputes with more than 50
  other bottlers concerning methods of distribution of products to mass merchandisers.

• Won a defense verdict for one of the nation’s largest resellers of high-end computer servers in a case claiming libel,
  slander, tortious interference, and RICO claims arising out of alleged misrepresentations concerning computer
  servers recovered from near the World Trade Center disaster area.

• Negotiated settlements for a lease-finance company in two lawsuits seeking to recover on third-party guarantees of
  $35 million in lease obligations of information technology equipment. The settlements came after the cases
  withstood summary judgment motions in federal courts.

• Represented a Fortune 50 company before the North Carolina Supreme Court in a defense of the constitutionality of
  the state’s statutory punitive damages cap.

• Served as litigation counsel to the Enron Bankruptcy Examiner, handling all in-court appearances and leading the
  investigation into investment bank and law firm relationships with Enron.

• Achieved a favorable settlement as lead trial counsel in the breach of a multimillion-dollar take-or-pay contract.

• Won reversal of a class certification order as appellate counsel for a chiropractic clinic in a case alleging improper
  referrals to a personal injury law firm.
BIOGRAPHY           Case 4:12-cv-01811 Document 145-4 Filed on 09/07/18 in TXSD Page 8 of 14
Jim Grant is the national co-leader of the firm’s Litigation Area. He has tried more than 25 cases to a jury verdict or
arbitration award and has handled more than 50 federal and state appeals. Some of the largest companies in America
have relied on Jim to lead enterprise risk litigation, including complex trade secret cases, merger and acquisition
disputes, and class actions. He is a Fellow in the American College of Trial Lawyers.

Over the past 28 years, Jim’s clients have included 16 Fortune 500 companies. He has served as litigation counsel for
clients in a wide range of industries, including the world’s largest software company, an international chemical
manufacturer, a nationwide drug store chain, and the world’s largest soft drink manufacturer, as well as companies in
pharmaceuticals, financial services, and other sectors. Jim handles litigation from its inception but is often brought in as
trial counsel or to appeal a case following an adverse verdict.

Jim understands that clients win when they achieve their business objectives. He therefore begins each engagement
looking for a positive resolution that stops short of carrying a matter to trial. When matters cannot be resolved through
negotiation, Jim is able to draw on the support of the firm’s diverse litigation groups to bring a team with the right
experience to every type of dispute.

NEWS & INSIGHTS


PRESS RELEASE     AUGUST 16, 2018



Alston & Bird Widely Recognized in 2019 Best Lawyers


PRESS RELEASE      MAY 7, 2018



Alston & Bird Widely Recognized in Chambers USA 2018


PRESS RELEASE     AUGUST 15, 2017



Best Lawyers Recognizes 177 Alston & Bird Attorneys


PRESS RELEASE      JUNE 16, 2017



Mylan Prevails against Shire in Generic Drug Patent Dispute


IN THE NEWS     JUNE 15, 2017



Law360 | Fed. Circ. Ruling Clears Judge to OK Mylan's Lialda Generic
                    Case 4:12-cv-01811 Document 145-4 Filed on 09/07/18 in TXSD Page 9 of 14
IN THE NEWS     JUNE 1, 2017



Law360 | Microsoft To Arbitrate Battery Price-Fix Claims In Finland


PRESS RELEASE      MAY 31, 2017



Alston & Bird Widely Ranked in Chambers USA 2017


IN THE NEWS     AUGUST 30, 2016



Law360 | Panasonic Says Microsoft Wants Secret Docs For Arbitration


PRESS RELEASE     AUGUST 16, 2016



Alston & Bird Attorneys Named to “Best Lawyers in America”


IN THE NEWS     AUGUST 16, 2016



Law360 | Sony, Microsoft Spar Over Arbitrating Battery Antitrust Row


IN THE NEWS     JULY 19, 2016



Law360 | Microsoft Says Sony Can’t Arbitrate Battery Antitrust Row


PRESS RELEASE      MAY 27, 2016



Alston & Bird Earns Wide Recognition in Chambers USA 2016


PRESS RELEASE     APRIL 22, 2016



Alston & Bird Scores Significant Victory in Delaware Supreme Court


IN THE NEWS     APRIL 1, 2016



Law360 | 5 Areas Bucking the Slowdown in Litigation


PRESS RELEASE      MARCH 8, 2016
                   Case 4:12-cv-01811 Document 145-4 Filed on 09/07/18 in TXSD Page 10 of 14
Alston & Bird Attorneys Recognized as “Georgia’s Top Rated Lawyers”


PRESS RELEASE      NOVEMBER 20, 2015



Alston & Bird Named “Overall Litigation Department of the Year”

CREDENTIALS


Bar Admissions
  • Georgia


Education
  • Vanderbilt University

  • University of Michigan


Memberships
  • American College of Trial Lawyers, Fellow

  • State Bar of Georgia

  • Atlanta Bar Association

  • Jack & Jill Late Stage Cancer Foundation, Advisory Board

  • Andrew P. Stewart Center, Advisory Board

  • Make-A-Wish Foundation, former board member and chairman


Accolades
  • The Best Lawyers in America©, 2000–2019

  • BTI Client Service All-Star, Litigation, 2014

  • Chambers USA: America’s Leading Lawyers for Business , Litigation: General Commercial, 2008–2018

  • Martindale-Hubbell, Georgia’s Top Rated Lawyers, 2015




RELATED SERVICES & INDUSTRIES


Litigation

Commercial

Corporate Plaintiff's Litigation
                   Case 4:12-cv-01811 Document 145-4 Filed on 09/07/18 in TXSD Page 11 of 14
Class Action & Multidistrict Litigation

Appellate
Matthew W. Howell | Intellectual Property Litigation Lawyer | Alston & Bird                      https://www.alston.com/en/professionals/h/howell-matthew-w
                     Case 4:12-cv-01811 Document 145-4 Filed on 09/07/18 in TXSD Page 12 of 14

                                                                                                                                 ALSTON&BIRD




                                                            Matthew W. Howell


                                                                      PARTNER, ATLANTA



                                               Phone: 404.881.7349 Email: matthew.howell@alston.com

             Representing companies in federal courts across the country and before the ITC, Federal Circuit and PTAB, Matthew
             enforces and defends his clients' IP rights, particularly patents, and in the chemical, biological and pharmaceutical
             industries.




            • Merial Inc., et al. v. Ceva U.S. Holdings Inc., et al, No. 16-cv-171 (D. Del.); represents plaintiff MiMedx in a patent infringement lawsuit
              concerning an animal vaccine.

            • Muscu/oskeletal Transplant Foundation v. MiMedx Group Inc., IPR2015-00664; represented patent owner MiMedx in an inter partes
              review concerning medical tissue grafts.

            • MiMedx Group Inc. v. Tissue Transplant Technology Ltd., et al., No. 5:14-cv-00719 (W.D. Tex.); represents plaintiff MiMedx in a
              patent infringement lawsuit concerning medical tissue grafts.

            • Muscu/oskeletal Transplant Foundation v. MiMedx Group Inc., IPR2015-00669; represented patent owner MiMedx in an inter partes
              review concerning medical tissue grafts; petition denied pre-institution.

            • Merial Inc., et al v. Ceva Sante Animate SA, et al., No. 3:15-cv-00039 and 3:15-cv-00040 (M.D. Ga.); represents plaintiff Merial in
              patent infringement, breach of contract and business torts litigation against competitors in the animal health field.
            • Biomune Company v. Meria/ Limited, et al., No. 2:14-cv-02567 (D. Kan.); defending a declaratory judgment action regarding patent
              infringement concerning animal vaccines.

            • MiMedx Group Inc. v. Tissue Transplant Technology Ltd., et al., No. 5:14-cv-719 (W.D. Tex.); representing the plaintiff in a patent
              infringement lawsuit concerning tissue grafting technology.

            • Perrigo Company, et al v. Merial Inc., et al, No. 8:14-cv-00403 (D. Neb.); Perrigo Company, et al v. Merial Inc., et al, No. 1:15-cv-3674
              (N.D. Ga.); Meria/ Inc., et al. v. Perrigo Company, et al., No. 1:15-cv-00013, (N.D. Ga.); litigated a breach of contract case based on a




1 of 3                                                                                                                                           9/7/2018, 5:08 PM
Matthew W. Howell | Intellectual Property Litigation Lawyer | Alston & Bird                      https://www.alston.com/en/professionals/h/howell-matthew-w
                        Case 4:12-cv-01811 Document 145-4 Filed on 09/07/18 in TXSD Page 13 of 14
              prior settlement of patent infringement litigation.

            • MiMedx Group Inc. v.. Liventa Bioscience Inc., et al., No. 1:14-cv-01178 (N.D. Ga.); representing the plaintiff in a patent infringement
              lawsuit regarding tissue grafting technology.

            • Merial Inc. v. Elanco Animal Health, No. 3:14-cv-00038 (M.D. Ga.); representing Meri al as declaratory judgment plaintiff in a false
              advertising Lanham Act case.


          Matthew Howell is a partner with Alston & Bird's Intellectual Property Litigation Team and focuses his practice on all areas of intellectual
          property litigation and counseling, with an emphasis on patent litigation and chemical, biological and pharmaceutical arts. Matthew has
          litigated patents in a wide variety of technologies, including e-commerce and software applications, computer telephony integration,
          cable modems and set-top boxes, footwear, logistics systems, video games, check processing systems and paper towel dispensers.

          Matthew has represented clients in federal and state courts across the country and before the International Trade Commission, Federal
          Circuit and Patent Trial and Appeals Board. He has significant experience with both enforcing and defending his clients' intellectual
          property rights.

          Matthew also has a robust pro bona practice, working closely with organizations such as the Atlanta Volunteer Lawyers Foundation,
          Georgia Legal Services Program, Pro Bono Partnership of Atlanta and other pro bona clients. He currently serves on Alston & Bird's Pro
          Bono Committee.

          In 2003, Matthew received his B.A. in physics from Washington University in St. Louis, and in 2007, he received his J.D. from Duke
          University School of Law. While at Duke, Matthew was part of a team of Duke Law students who successfully briefed and argued a
          habeas corpus case, Lyons v. Weisner, in the Fourth Circuit.




          GENERAL PUBLICATIONS      JANUARY 2018



          '~erican Patent Law Continues to Move in a Defendant-friendly MannerThat May Stifle
          Innovation," Financier ~rldwide,]anuary 2018.

          Patent law in the US has always strived, but failed, to find the right balance between promoting innovation versus cultivating
          competition. Many practitioners, for example, believe that the 1990s and 2000s were largely pro-patent in the US.



          IN THE NEWS     APRIL 28, 2017



          Ltlw360 I LaW360 Names Attys Who Moved Up the Firm Ranks in Qr

          Shri Abhyankar, Adam Baker, Brian Boone, Xavier Brandwajn, Emily Seymour Costin, Chris Douglas, Martin Dozier, Jonathan Edwards,
          David Freedman, Bo Griffith, Russell Hilton, Jason Howard, Matthew Howell, Mike Jewesson, Julie Mediamolle, Rudy Missmar, Jason
          Popp, Colgate Selden, Allison Thompson, and Karen Wade are mentioned for being promoted to partner in January.



          IN THE NEWS     JANUARY 11, 2017



          IP Watchdog IAlston & Bird Promotes Four to Partner
          Shri Abhyankar, Xavier Brandwajn, Chris Douglas and Matthew Howell are mentioned for their promotions to partner in the firm's
          Intellectual Property Litigation and Patent Prosecution teams.



          IN THE NEWS     JANUARY 9, 2017



          ~rid Intellectual Property Review I Alston &                Bird Promotes Four to Partner

          Shri Abhyankar, Xavier Brandwajn, Chris Douglas and Matthew Howell are highlighted for their promotions to partner in the firm's



2 of 3                                                                                                                                          9/7/2018, 5:08 PM
Matthew W. Howell | Intellectual Property Litigation Lawyer | Alston & Bird                   https://www.alston.com/en/professionals/h/howell-matthew-w
                     Case 4:12-cv-01811 Document 145-4 Filed on 09/07/18 in TXSD Page 14 of 14
          Intellectual Property Litigation and Patent Prosecution teams.



          PRESS RELEASE   JANUARY 4, 2017



          Alston & Bird Elects 20 New Partners

          Alston & Bird has announced the election of 20 lawyers to its partnership, effective January 1.



          SEMINAR     JULY14,2016



          Intellectual Property Issues in Pro Bono Matters



          SEMINAR     NOVEMBER 11-15, 2016



          27th Annual North American Law Summit: Entertainment, Sports & Intellectual Property




          Bar Admissions
            • Georgia

            • U.S. Patent and Trademark Office

            • U.S. Supreme Court

          Education
            • Duke University (J.D., 2007)

            • Washington University in St. Louis (B.A., 2003)

          Memberships
            • U.S. Court of Appeals for the Federal Circuit
            • U.S. District Court for the Northern District of Georgia

            • U.S. District Court for the Middle District of Georgia

            • U.S. District Court for the Eastern District of Texas


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